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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

IN RE:                                         )
                                               )       Case No. 22-11320-JGR
CLEARWATER COLLECTION 15, LLC                  )
EIN: XX-XXXXXXX                                )       Chapter 11
                                               )
  Debtor.                                      )

                          DISCLOSURE REGARDING RECEIVERS

              [ ]       No receiver is in possession of debtor’s property.

              [ X]      A receiver is in possession of all or part of the debtor’s property:

                        Michael Vullis of Avison Young
                        1715 N. Westshore Blvd.
                        Suite 450
                        Tampa, FL 33607




Dated: April 19, 2022
                                       /s/ Gary Dragul
                                       Gary Dragul, President, Clearwater Collection 15, LLC, by
                                       GDA Clearwater Management, LLC and GDA Real Estate
                                       Management, Inc., Manager




Dated: April 19, 2022                  WADSWORTH GARBER WARNER CONRARDY, P.C.

                                       By: /s/ Aaron A. Garber
                                               Aaron A. Garber #36099
                                               2580 West Main Street, Suite 200
                                               Littleton, CO 80120
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